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 1                                                                 Judge Ricardo S. Martinez
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 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     The UNITED STATES of AMERICA,              )
10                                              )
                          Plaintiff,            )      No. CR06-38RSM
11                                              )
                   v.                           )
12                                              )      ORDER CONTINUING
     HARMINDER SINGH, et al.,                   )      TRIAL DATE
13                                              )
                              Defendants. )
14
            THIS MATTER comes before the Court on the United States of America’s motion
15
     to continue the trial date. Having considered the entirety of the record and files herein,
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     and based on the stipulation of the parties and the waiver of speedy trial filed by
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     defendant Harminder Singh, the Court finds that due to the complexity of the case, the
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     recent disclosure of foreign evidence which the government intends to use at trial against
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     defendant Harminder Singh, and the need for continuity of counsel and effective assistance
20
     of counsel, a failure to grant the continuance would likely result in a miscarriage of
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     justice. This continuance will allow the government and defendant Harminder Singh to
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     adequately prepare for trial.
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            The Court further finds that the interests of the public and the defendant in a
24
     speedy trial in this case are outweighed by the ends of justice.
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                                                                                    UNITED STATES ATTORNEY
     ORDER CONTINUING TRIAL - Page 1                                                 700 Stewart Street, Suite 5220
                                                                                    Seattle, Washington 98101-1271
     Multani, et al./CR06-38RSM                                                              (206) 553-7970
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 2         IT IS NOW, THEREFORE, ORDERED that trial is continued from October 16,
 3   2006, to January 16, 2007, and that the time between the date of this Order and the new
 4   trial date be excluded under the Speedy Trial Act pursuant to Title 18, United States
 5   Code, Sections 3161(h)(8)(A), 3161(h)(8)(B(i), and 3161(h)(B)(ii).
 6         Dated this 17 day of October, 2006.
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                                                     RICARDO S. MARTINEZ
10                                                   UNITED STATES DISTRICT JUDGE
     Presented by:
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12
     JOHN McKAY
     United States Attorney
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     s/ Ye-Ting Woo
14   YE-TING WOO
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